Case 8:22-cv-01219-DOC-DFM Document 9 Filed 06/29/22 Page 1 of 6 Page ID #:31
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  8                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  9                            SOUTHERN DIVISION
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       PAUL SAPAN                                CASE NO:
  11                                             8:22−cv−01219−DOC−DFM
                     Plaintiff(s),
  12                                             INITIAL STANDING ORDER
            v.                                   FOLLOWING ASSIGNMENT OF
  13 ALLIED FIRST BANCORP, INC.                  CIVIL CASE TO JUDGE CARTER

  14               Defendant(s).
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  18        This case has been assigned to the calendar of Judge David O. Carter.

  19   Whenever a new civil case is assigned to Judge Carter, the Court issues this Initial
  20   Standing Order. It lays out some of the Judge's rules and expectations that litigants
  21   should be familiar with from the beginning of their case. In addition to this Initial
  22   Standing Order, litigants are required to follow the Federal Rules of Civil Procedure
  23   and the Local Rules of the Central District of California.¹
  24        The Court ORDERS as follows:
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         ¹The most recent version of the Local Rules is available on the Central District of
  27     California's website (www.cacd.uscourts.gov), under "Court Procedures."
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       I.     Court Appearances
  2           The parties must appear in person for hearings and conferences before the
  3    Court. The Court does not permit telephonic appearances.
  4           Unless a party is representing him or herself, parties shall be represented by

  5    lead counsel at all court appearances, including scheduling conferences.
  6           Under no circumstances should counsel, or a party if the party is appearing
  7    pro se, fail to appear at a court appearance unless their appearance has been waived
  8    by prior order of the Court. Even if a settlement has been reached, counsel for all
  9    parties, or the party if appearing pro se, must appear at court appearances until
  10   a stipulation of dismissal signed by all parties has been lodged with the Court.
  11   II.     Scheduling
  12          Pursuant to Rule 16(b), the Court will set a scheduling conference and issue a

  13   scheduling order in each case. Litigants should familiarize themselves with the
  14   Court’s standard Order Setting Scheduling Conference and the Court’s standard
  15   Scheduling Order & Order re: Pretrial and Trial Procedures, which describe the
  16   typical schedule and procedures used in this Court.²
  17          The Court is flexible in setting initial dates. Therefore, Parties should meet

  18   and confer to select mutually agreeable dates. The Court strongly encourages

  19   Parties to stipulate to the initial schedule, and endeavor to accommodate counsel’s

  20   previously scheduled dates that produce good faith calendar conflicts. Counsel are
  21   encouraged to reference the Central District’s Civility and Professionalism
  22   Guidelines, which can be found on the Court’s website.
  23   III.     Continuances and Extensions of Deadlines
  24          This Court has a strong interest in adhering to scheduled dates. Changes in

  25   dates are disfavored. Trial dates set by the Court are firm and will rarely be

  26   changed, except that the Court may advance the trial date up to two weeks.
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            ²All of Judge Carter’s standing orders are available at Judge Carter’s home page
  28        located under “Judges’ Procedures and Schedules.”

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       Therefore, any request, whether by application or stipulation, to continue the
  2    date of any matter before this Court must be supported by a detailed explanation
  3    of the grounds for the requested continuance or extension of time. Without
  4    compelling factual support, requests to continue dates set by this Court will

  5    not be approved. Proposed stipulations extending scheduling dates do not become
  6    effective unless and until this Court so orders.
  7    IV.    Motions
  8          Counsel should note the timing and service requirements of Local Rules 6
  9    and 7 and its subparts including:
  10         (1) Rule 6−1: Notice of motion and the moving papers must be filed and
  11             served twenty−eight (28) days before the noticed hearing date, unless
  12             the notice is served by mail, in which case service is required thirty−one

  13             (31) days prior to the noticed hearing date;
  14         (2) Rule 7−9: Opposing papers shall be filed twenty−one (21) calendar days
  15             before the hearing date; and
  16         (3) Rule 7−10: Reply papers, if any, shall be filed fourteen (14) calendar
  17             days before the hearing date.

  18         (4) Rule 7−11: If the hearing date is continued, the deadlines for filing

  19             opposing and reply papers are automatically extended unless the

  20             Court orders otherwise.
  21         Counsel must comply with the timing requirements of the Local Rules so
  22   that chambers can properly prepare for motion matters.
  23         Parties should note, the Court will only entertain one Motion for Summary
  24   Judgment from each party, typically after discovery is closed.

  25   V.    Ex Parte Applications

  26         Ex parte applications are solely for extraordinary relief and should be used
  27   with discretion. See Mission Power Eng’g Co. v. Continental Cas. Co., 883 F.
  28   F. Supp. 488 (C.D. Cal. 1995). In this Court’s experience, ex parte applications

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       “are nearly always improper.” In re Intermagnetics Am., Inc., 101 B.R. 191,
  2    192−93 (C.D. Cal. 1989). The Federal Rules of Civil Procedure and Local Rules
  3    “contemplate that regular noticed motions are most likely to produce a just result.”
  4    Mission Power, 883 F. Supp. at 491.

  5           Ex parte applications that fail to conform to Local Rule 7−19 and 7−19.1,
  6    including a statement of opposing counsel’s position, will not be considered except
  7    on a specific showing of good cause. Concurrently with service of the ex parte

  8    papers by electronic service, facsimile, or personal service, the moving party shall

  9    notify the opposition that opposing papers must be filed no later than twenty−four

  10   (24) hours following service. If opposing counsel does not intend to oppose the

  11   ex parte application, counsel must inform the Courtroom Deputy Clerk by

  12   telephone or email as soon as possible.

  13   VI.     Jury Demand

  14          Litigants who are entitled to a jury trial and who wish to have a jury trial are

  15   reminded to file and serve a jury demand in accordance with Federal Rule of Civil

  16   Procedure 38.

  17   VII.     Applications to File Documents Under Seal

  18          There is a strong presumption that the public has a right of access to records

  19   in civil cases. For non−dispositive motions, the party seeking to maintain the

  20   confidentiality of the document(s) or portions thereof must show good cause. For

  21   dispositive motions, the party seeking protection must articulate compelling reasons

  22   for maintaining the confidentiality of the document(s) and must seek relief that is

  23   narrowly tailored to the protected interest. See Pintos v. Pacific Creditors Ass’n,

  24   605 F.3d 665, 677−79 (9th Cir. 2010). No document will be filed under seal in its

  25   entirety unless it is shown in the application that it is not feasible to file a redacted

  26   version for public viewing. Any proposed redactions must be highlighted in the

  27   under seal version of the document so that the Court may readily determine what

  28   information the party or parties seek to maintain as confidential.

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               In accordance with Local Rule 79−5.1, absent authorization by rule or statute,
  2    no case or document(s) may be filed under seal without written application to, and
  3    prior approval by, the Court. The existence of a Protective Order, a Stipulated
  4    Confidentiality Order, or the like, issued by the assigned Magistrate Judge relating

  5    to the treatment of documents produced during discovery, does not constitute a

  6    court Order permitting an under seal filing. An application to seal that is based

  7    solely on the existence of such an Order will be summarily denied. In addition,

  8    reliance upon the parties’ designation of documents as “Confidential,” “Highly

  9    Confidential,” “Attorneys’ Eyes Only,” etc. is insufficient. Rather, the party must

  10   provide competent evidence explaining why the document(s) should be filed under

  11   seal.

  12           If the party seeking to file documents under seal (the “filing party”) is not

  13   the party with an interest in the sealing/confidentiality of the documents, then the

  14   filing party shall provide the interested party with its proposed application to seal

  15   at least two (2) business days in advance of any filing. If the interested party seeks

  16   to have the documents filed under seal, it shall file a Declaration setting forth

  17   competent evidence explaining why the document(s) should be filed under seal.
       If the interested party fails to file a Declaration within this two−day period, the
  18
       filing party is relieved of any obligation to file an application to seal and may
  19
  20   publicly file the documents along with a Declaration of Compliance with this

  21   paragraph.

  22   VIII.      Settlement

  23           If settlement is reached at any time in this litigation, the parties shall

  24   immediately notify the Court by telephone, email, or by filing a notice of
       settlement. Local Rule 40−2.
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  26   IX.      Communication with the Court

  27           All appropriate inquiries should be directed to Judge Carter’s Courtroom

  28   Deputy Clerk at (714) 338−4543 or DOC_Chambers@cacd.uscourts.gov.


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       Counsel should not attempt to contact chambers directly. Counsel should list
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       their email addresses and phone numbers on their papers in order to facilitate
  3    communication by the Courtroom Deputy Clerk.
  4    X.    Notice of this Order
  5          Plaintiff’s counsel or plaintiff (if appearing on his or her own behalf) shall
  6    immediately serve this Order on all parties, including any new parties to the
  7    action. If this case came to the Court by a Notice of Removal, the removing
  8    defendant(s) shall serve this Order on all other parties.
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            IT IS SO ORDERED.
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  11 Dated: June 29, 2022
  12                                       David O. Carter
                                           United States District Judge
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